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AO 472 (Rev. 6/05) Order of Detention Pending Trial


                                                  United States District Court
                                                      Eastern District of Michigan

United States of America                                          ORDER OF DETENTION
       v.

Falon Richardson                                                  Case Number: 04-cr-80857
                                                                  Hon. Lawrence P. Zatkoff
                   Defendant


                                                          Part I – Findings of Fact
          (1) I find that:

         Defendant is currently charged with violation of federal criminal drug laws. In accordance with the Bail Reform Act, 18
U.S.C. §3142, the court set an unsecured bond for defendant or about January 13, 2005. Defendant failed to comply with the bond
conditions and on or about February 16, 2005, the district judge granted Pretrial Services’ petition to cancel the defendant’s bond and
issue an arrest warrant.

        On or about December 21, 2005, a Superseding Indictment was issued against defendant. Defendant did not appear on that
document until on or about January 29, 2007. An order of temporary detention was entered and a detention hearing was set for
February 2, 2007.

         Counsel for defendant from the Federal Defender’s Office has now filed a motion to withdraw. That matter is set for hearing
before the district judge on February 6, 2007.

         Because defendant’s bond was previously canceled by order of the district judge, review and relief, if any, can only be
granted by that court upon motion filed by a lawyer representing defendant.

          Accordingly, it is ordered that defendant is detained pending trial pursuant to the previously entered order canceling his bond.

                                          Part II – Written Statement of Reasons for Detention
         I find that the order of the district judge and the representations of pretrial services therein established the following factors
under 18 U.S.C. § 3142(g):
                   ” (a) nature of the offense–controlled substances and conspiracy
                   “ (b) weight of the evidence–strong; def charged by way of indictment
                   “ (c) history and characteristics of the defendant
                            “ 1) physical and mental condition–not significant
                            “ 2) employment, financial, family ties–not significant
                            “ 3) criminal history and record of appearance-several outstanding warrants when bond canceled; failed to
report for random drug testing, and failed to respond to Pretrial after a home visit was made.
                   “ (d) probation, parole or bond at time of the alleged offense–bond canceled by district judge on this case 2/16/05
                   “ (e) danger to another person or community–unknown


                                                Part III – Directions Regarding Detention
         The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a
corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of
the United States or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the
defendant to the United States Marshal for the purpose of an appearance in connection with a court proceeding.

                                                                  s/Virginia M. Morgan
                 Date 2/5/07                                                               Signature of Judge
                                                                  Virginia M. Morgan, United States Magistrate Judge
                                                                               Name and Title of Judge
